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                                   STATEMENT OF FACTS

        Your affiant, Brian Kimball, is a Special Agent of the Federal Bureau of Investigation
(FBI). I have been employed as an FBI Special Agent since 2005 and I am currently assigned to
the Salt Lake City Division, Provo Resident Agency. Currently, I am tasked with investigating
criminal activity in and around the United States Capitol grounds on January 6, 2021. As a Special
Agent with the FBI, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detection, investigation, or prosecution of alleged violations of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                  Evidence Linking MATTHEW BOKOSKI to Assault on the U.S. Capitol

        On or about January 7, 2021, the FBI received a tip that MATTHEW BOKOSKI of
Chicago, Illinois had been inside the Capitol Building on January 6, 2021 and had posted about
his actions on Facebook and Kik, a mobile messaging app. The tipster (hereinafter, “T-1”)
reported that MATTHEW BOKOSKI had posted that he was in Washington, D.C. with his father
(BRADLEY BOKOSKI) on January 6, 2021. T-1 was familiar with MATTHEW BOKOSKI
through a social media group and identified a Facebook account associated with the name
“Matthew Ryan Bokoski” as belonging to MATTHEW BOKOSKI.

        On or about January 11, 2021, another tipster (hereinafter, “T-2”) submitted an online tip
to the FBI regarding the participation of MATTHEW BOKOSKI in the January 6 Capitol riot. T-
2 included screenshots of comments, videos, and photos that MATTHEW BOKOSKI had posted
to Facebook on January 6, 2021. A screenshot of content posted to MATTHEW BOKOSKI’s
Facebook account can be seen below in Figure 1.




                                              Figure 1

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        One of the Facebook comments indicates that MATTHEW BOKOSKI was inside the
Capitol Building with his father. The comment reads: “I was with my dad and walked right up the
capital steps and inside with others.” A screenshot of the comment is below in Figure 2.




                                             Figure 2

        On January 14, 2021, law enforcement officers interviewed MATTHEW BOKOSKI in
person in Chicago, Illinois. MATTHEW BOKOSKI admitted that on January 6, 2021, he and his
father walked around the U.S. Capitol grounds and entered the U.S. Capitol Building. He further
stated that he took photos and video during his January 6, 2021 entry and presence in the U.S.
Capitol Building. He confirmed that the “Matthew Ryan Bokoski” Facebook account belongs to
him and that he had posted photos and comments to this account on January 6, 2021. He told the
interviewing agents that the January 6, 2021 rally was effective because the participants were able
to “shut down” the government.

       Following his interview, MATTHEW BOKOSKI voluntarily provided law enforcement
with photos that he had taken on January 6, 2021 including photos that appear to have been taken
from inside the restricted area. Within these photos, police barriers and the West Front Inaugural
Platform can be observed.




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                Figure 3                                    Figure 4




                                           Figure 5

       Among the photos MATTHEW BOKOSKI provided to law enforcement is a photo taken
from the Northwest Terrace. A red arrow marks the Senate Parliamentarian Door, which was
breached at approximately 2:42 PM according to security footage.




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                                              Figure 6

       Included in the photos that MATTHEW BOKOSKI provided to law enforcement is a photo
of himself. He can be seen wearing a red and blue “TRUMP 2020” flag on his back and a red and
blue knit cap with a pom-pom on top.




                                              Figure 7

       In connection with this investigation, this affiant reviewed Capitol security footage. In that
footage, I observed an individual who appeared to be MATTHEW BOKOSKI, wearing the same
blue and red knit cap and red and blue flag, unlawfully enter the U.S. Capitol Building through the
Senate Parliamentarian door at approximately 2:47 p.m. on January 6, 2021. MATTHEW

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BOKOSKI entered through the door approximately five minutes after it was breached, and he
appears to be taking photographs or recording video upon his entry into the Capitol Building.




                   Figure 8                                      Figure 9


        According to Facebook records, the account with username “Matthew Ryan Bokoski” is
identified by account number 562229240. On May 3, 2022, U.S. Magistrate Judge Robin M.
Meriweather in the District of Columbia authorized a search warrant for the Facebook account
associated with account number 562229240. The search warrant return contained the following
video and posts:

   1. A video was sent from the account on January 6, 2021 at approximately 4:40 PM EST and
      the following image, which I recognize as taken within the U.S. Capitol building, was
      saved from that video:




                                          Figure 10



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   2. On or about January 7, 2021, BOKOSKI posted “this all happened before I went up to the
      capital. So only thing I’m guilty of is trespassing on federal property if you want to get
      down to it. I kept my distance from police and even thanked them for being out and making
      sure things don’t get insane.”

               Evidence Linking BRADLEY BOKOSKI to Assault on the U.S. Capitol

       On or about January 17, 2021, another tipster (hereinafter, “T-3”) submitted an online tip
regarding the photos that MATTHEW BOKOSKI had posted to his Facebook account. In one of
the photos inside the Capitol Building, T-3 circled the face of a man with eyeglasses and a white
mustache and identified this man as BRADLEY BOKOSKI. T-3 also identified BRADLEY
BOKOSKI’s place of work.




                                           Figure 11

    T-3 also submitted the photo shown in Figure 11 in which individuals resembling
BRADLEY BOKOSKI and MATTHEW BOKOSKI were photographed together.




                                           Figure 12

       On or about June 9, 2021, FBI agents conducted open source and law enforcement database
checks, including a check of state driver’s license records. Through those checks, FBI agents

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located a driver’s license record for “Bradley Bokoski.” The checks further revealed pertinent
biographical data, such as BRADLEY BOKOSKI’s date of birth. Your affiant compared the
photograph shown above in Figure 11 with BRADLEY BOKOSKI’s driver’s license photo and
believes that the individual in Figure 11 is BRADLEY BOKOSKI.

        On June 21, 2021, law enforcement officers spoke with BRADLEY BOKOSKI. In his
interview, BRADLEY BOKOSKI told law enforcement his place of employment, which was
consistent with the information provided by T-3. He volunteered that he entered the Capitol
building with his son, MATTHEW BOKOSKI. He further acknowledged that MATTHEW
BOKOSKI had taken photos of their activities and had posted photos to Facebook.

       In my review of Capitol security footage, I also observed an individual who appeared to be
BRADLEY BOKOSKI unlawfully entering the U.S. Capitol Building through the Senate
Parliamentarian door at approximately 2:47 p.m. on January 6, 2021. BRADLEY BOKOSKI can
be seen holding a cell phone and appears to be recording video or taking photographs of his entry
into the Capitol Building. BRADLEY BOKOSKI (circled in white) is accompanied by
MATTHEW BOKOSKI (circled in red). Father and son moved with a crowd down a corridor
where the crowd met with a police line of approximately 10-15 officers. BRADLEY BOKOSKI
and MATTHEW BOKOSKI turned around and exited the building through the Senate
Parliamentarian door at approximately 2:52 p.m. They were in the building for approximately 4-5
minutes.




                   Figure 13                                       Figure 14




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                                            Figure 15

        Law enforcement officers also obtained body worn camera from a Metropolitan Police
Department Officer who was present near the northwest lawn during the afternoon of January 6,
2021. In video footage timestamped 2:36 p.m., the face of BRADLEY BOKOSKI can be seen. A
static image from the body-worn camera is shown below, with BRADLEY BOKOSKI identified
by a red circle:




                                            Figure 15


       Based on the foregoing, your affiant submits that there is probable cause to believe that
BRADLEY BOKOSKI and MATTHEW BOKOSKI violated 18 U.S.C. § 1752(a)(1) and (2),
which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct

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in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that BRADLEY BOKOSKI
and MATTHEW BOKOSKI violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime
to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.

                                                      Respectfully Submitted,


                                                      _________________________________
                                                      Brian W. Kimball
                                                      Special Agent
                                                      Federal Bureau of Investigation
                                                      Salt Lake City Division, Provo Resident
                                                      Agency


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 16 day of May, 2022.

                                                      ______________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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